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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


IN RE INTUNIV ANTITRUST
LITIGATION                                         Civil Action Nos. 16-cv-12653-ADB (Direct)
                                                                     16-cv-12396-ADB (Indirect)
This Document Relates to: All Actions


    DECLARATION OF LAUREN G. BARNES IN SUPPORT OF PLAINTIFFS’
 OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT AND
       TO EXCLUDE CERTAIN OPINIONS OF PLAINTIFFS’ EXPERTS

       I, Lauren G. Barnes, hereby declare as follows:

       I am a member of the bar of the Supreme Judicial Court of the Commonwealth of

Massachusetts. I am a partner at Hagens Berman Sobol Shapiro LLP and lead counsel for the

Direct Purchaser Plaintiff Class in this matter.

       The exhibits to this declaration are cited within the plaintiffs’ responsive summary

judgment and Daubert briefing, which were contemporaneously filed by hand and under seal

with the court, and include:

      Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment;

      Plaintiffs’ Response to Defendants’ Rule 56 Statement of Undisputed Material Facts;

      Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
       Opinions Thomas Fernandez;

      Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
       Opinions of Martha A. Starr and Christopher F. Baum;

      Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
       Opinions of Mansoor Amiji and Michael Cima;

      Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
       Opinions of Michael F. Johnson;

      Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
       Opinions of Thomas McGuire;
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        Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
         Opinions of John Thomas, and

        Plaintiffs’ Memorandum in Opposition to Defendants’ Motion to Exclude Certain
         Opinions of Shashank Upadhye.

         Listed below and attached are true copies of the following1:

         1.       Attached as Exhibit 112 is the Rebuttal Expert Report of Christopher Baum,

Ph.D. dated June 24, 2019.

         2.       Attached as Exhibit 113 is the Expert Report of Mansoor Amiji, R. Ph., Ph.D.

dated March 29, 2019.

         3.       Attached as Exhibit 114 is the Rebuttal Expert Report of Mansoor Amiji, R.

Ph., Ph.D. dated June 24, 2019.

         4.       Attached as Exhibit 115 is the Expert Report of Michael Cima, Ph.D. dated

March 30, 2019.

         5.       Attached as Exhibit 116 is the Rebuttal Expert Report of Michael Cima, Ph.D.

dated June 24, 2019.

         6.       Attached as Exhibit 117 is the Expert Report of John Thomas dated March 31,

2009.

         7.       Attached as Exhibit 118 is the Reply Expert Report of John Thomas dated June

24, 2019.

         8.       Attached as Exhibit 119 is the Expert Report of Shashank Upadhye dated

March 31, 2019.

         9.       Attached as Exhibit 120 is the Rebuttal Expert Report of Shashank Upadhye

dated June 24, 2019.



     1 Consistent with the protective order in this matter but without prejudice to the plaintiffs’ ability to challenge

the confidentiality of these documents, the exhibits listed here have been filed under seal.



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       10.     Attached as Exhibit 121 is the transcript from the deposition of Mansoor Amiji,

R. Ph., Ph.D. dated July 19, 2019.

       11.     Attached as Exhibit 122 is a transcript of the deposition of Michael Cima, Ph.D.

dated July 9, 2019.

       12.     Attached as Exhibit 123 is the transcript of the July 16, 2019 deposition of

Michael Johnson.

       13.     Attached as Exhibit 124 is the transcript of the July 2, 2019 deposition of

Thomas McGuire, Ph.D.

       14.     Attached as Exhibit 125 is the transcript of the July 16, 2019 deposition of John

Thomas.

       15.     Attached as Exhibit 126 is the transcript of the July 10, 2019 deposition of

Martha Starr, Ph.D.

       16.     Attached as Exhibit 127 is the transcript of the August 6, 2019 deposition of

Shashank Upadhye.

       17.     Attached as Exhibit 128 is Exhibit 16 to the David Buchen deposition, a press

release dated April 25, 2013, "Shire Settles All Pending Litigation with Actavis and Watson

Concerning Intuniv."

       18.     Attached as Exhibit 129 is Exhibit 17 to the David Buchen deposition, an email

chain from David Buchen dated April 22, 2013, which attaches Actavis Press Release dated

April 25, 2013, "Actavis Reaches Agreement with Shire to Launch a Generic Version of Intuniv

in December 2014."

       19.     Attached as Exhibit 130 is a document, “Actavis Reaches Agreement with Shire

to Launch a Generic Version of Intuniv in December 2014,” dated April 25, 2013.

       20.     Attached as Exhibit 131 is the transcript of the July 3, 2019 deposition of



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Thomas Fernandez.

       21.    Attached as Exhibit 132 is the Rebuttal Report of Thomas McGuire dated June

24, 2019.

       22.    Attached as Exhibit 133 is Exhibit 11 to the Napoleon Clark deposition,

Actavis's generic Intuniv forecast dated March 4, 2013, which was produced by Actavis which

is Bates numbered Actavis-Int-0121780.

       23.    Attached as Exhibit 134 is Exhibit 12 to the Napoleon Clark deposition,

Actavis's generic Intuniv forecast dated March 13, 2013, which was produced by Actavis which

is Bates numbered Actavis-Int-0121779.

       24.    Attached as Exhibit 135 is Exhibit 14 to the Napoleon Clark deposition, email

from Andrew Boyer to Toni Picone et al dated June 1, 2013 attaching FM-Guanfacine, which

was produced by Actavis which is Bates numbered Actavis-Int-0114018 through Actavis-Int-

0114021.

       25.    Attached as Exhibit 136 is Exhibit 9 to the deposition of Thomas Kolschowsky,

FWK Holdings, LLC Articles of Incorporation dated November 9, 2016.

       26.    Attached as Exhibit 137 is Exhibit 18 to the Leonard Fasullo Deposition,

Intunive CMC Meeting Minutes, April 25, 2013 through December 1, 2014.

       27.    Attached as Exhibit 138 is the transcript of the October 23, 2018 deposition of

Colman Ragan.

       28.    Attached as Exhibit 139 is the transcript of the September 12, 2018 deposition

of Andrea Sweet.

       29.    Attached as Exhibit 140 is the transcript of the December 11, 2018 deposition

of Christopher Masseth.

       30.    Attached as Exhibit 141 is the transcript of the October 17, 2018 deposition of



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Gary Sender.

       31.     Attached as Exhibit 142 is Shire's Supplemental Responses and Objections to

Direct Purchaser Plaintiffs' Second Set of Interrogatories 4-6, 11, 14-15, 23-24 dated October

16, 2018.

       32.     Attached as Exhibit 143 is Shire’s Responses and Objections to Direct

Purchaser Plaintiffs’' First Set of Interrogatories dated January 12, 2018.

       33.     Attached as Exhibit 144 is Shire's Stipulation regarding AG Lialda dated

December 21, 2018.

       34.     Attached as Exhibit 145 is Volume A of the September 17, 2012 transcript from

the Shire LLC v. Teva Pharmaceuticals trial, which was produced by Actavis and which is Bates

numbered Actavis-Int-00918559 through Actavis-Int-0018676.

       35.     Attached as Exhibit 146 is Volume B of the September 18, 2012 transcript from

the Shire LLC v. Teva Pharmaceuticals trial, which was produced by Actavis and which is Bates

numbered Actavis-Int-0019001 through Actavis-Int-0019131.

       36.     Attached as Exhibit 147 is Volume C of the September 19, 2012 transcript from

the Shire LLC v. Teva Pharmaceuticals trial, which was produced by Actavis and which is Bates

numbered Actavis-Int-0019492 through Actavis-Int-0019635.

       37.     Attached as Exhibit 148 is Volume D of the September 20, 2012 transcript from

the Shire LLC v. Teva Pharmaceuticals trial, which was produced by Actavis and which is Bates

numbered Actavis-Int-0020019 through Actavis-Int-0020106.

       38.     Attached as Exhibit 149 is an email from Stephanie Leon to Thomas Fernandez

dated May 9, 2019.

       39.     Attached as Exhibit 150 is a hearing transcript dated September 24, 2012 in

Shire LLC v. Teva Pharmaceuticals USA., Inc., No. 10-329-RGA (D. Del.) which was produced by



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Actavis which is Bates numberedActavis-Int-0018545 through Actavis-Int-0018558.

       40.     Attached as Exhibit 151 is Anchen's Answering Brief to Plaintiffs' Motion for

Dismissal of All Claims and Counterclaims Relating to the '290 Patent and Opening Brief in

Support of Its Rule 12(C) Motion for Judgment on the Pleadings in the Shire LLC v. Teva

Pharmaceuticals matter dated May 4, 2012, which was produced by Actavis and which is Bates

numbered Actavis-Int-0022569 through Actavis-Int-0022582.

       41.     Attached as Exhibit 152 is Defendants Actavis Elizabeth LLC's and Actavis,

Inc.'s Post-Trial Reply Memorandum in Support of Their Proposed Findings of Fact and

Conclusions of Law on the Issues of Invalidity filed on November 8, 2012 in Shire LLC v. Teva

Pharmaceuticals USA, Inc., No. 10:cv-329, ECF No. 495, which was produced by Actavis and is

Bates numbered Actavis-Int-0081837 through Actavis-Int-0081854.

       42.     Attached as Exhibit 153 is Defendants Actavis Elizabeth LLC's and Actavis,

Inc.'s Post-Trial Findings of Fact and Conclusions of Law On the Issues of Non-Infringement

dated October 25, 2012, which was produced by Actavis which is Bates numbered Actavis-Int-

0026661 through Actavis-Int-0026688.

       43.     Attached as Exhibit 154 is Exhibit 1, Statement of Stipulated Facts dated

August 29, 2012, which was produced by Actavis and which is Bates numbered Actavis-Int-

0027353 through Actavis-Int-0027357.

       44.     Attached as Exhibit 155 is Actavis Elizabeth LLC's and Actavis, Inc.'s

Responses to Plaintiffs' First Set of Interrogatories Nos. 1-4 in Shire LLC c. Actavis Elizabeth

LLC, No. 10-329 (D. Del.) dated April 22, 2011, which was produced by Shire which is Bates

numbered SHIREINT0024075 through SHIREINT0024165.

       45.     Attached as Exhibit 156 is Plaintiffs' Brief in Support of Its Motion for

Reconsideration in Part of the Court's Claim Construction Ruling filed on April 5, 2012 in Shire



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LLC c. Actavis Elizabeth LLC, No. 10-329-RGA (D. Del.) which was produced by Shire which is

Bates numbered SHIRE0028685 through SHIRE0028700.

        46.   Attached as Exhibit 157 is Plaintiffs' Opening Brief in Support of Their Motion

for Dismissal of All Claims and Counterclaims Relating to the '290 Patent and to Drop

Plaintiffs Arnsten, Hunt, and Rakic from This Case filed on April 17, 2012 in Shire LLC c.

Actavis Elizabeth LLC, No. 10-329-RGA (D. Del.) ECF 243 which was produced by Shire which

is Bates numbered SHIREINT0028745 through SHIREINT0028757.

        47.   Attached as Exhibit 158 is Actavis Elizabeth LLC's and Actavis, Inc.'s Brief in

Partial Opposition to Plaintiffs' Motion for Dismissal of All Claims and Counterclaims Relating

to the '290 Patent and to Drop Plaintiffs Arnsten, Hunt, and Rakic from This Case filed on May

4, 2012 in Shire LLC c. Actavis Elizabeth LLC, No. 10-329-RGA (D. Del.) ECF 263 which was

produced by Shire which is Bates numbered SHIREINT0028880 through SHIREINT0028900.

        48.   Attached as Exhibit 159 is an excerpt from U.S. Food & Drug Admin., Patent

and Exclusivity for: N022037, Orange Book: Approved Drug Products with Therapeutic

Equivalence Evaluations, 34th Ed.

        49.   Attached as Exhibit 160 is the Declaration of Yuling Lin dated October 12,

2018.

        50.   Attached as Exhibit 161 is an Order filed on June 20, 2012 in Shire LLC v. Teva

Pharmaceuticals USA, Inc., No. 10-cv-329-RGA, ECF No. 283, which was produced by Actavis

and is Bates numbered Actavis-Int-0022806 through Actavis-Int-0022807.

        51.   Attached as Exhibit 162 is the Declaration of Jamie Berlanska dated March 25,

2019.

        52.   Attached as Exhibit 163 is a draft Settlement Agreement by and Among Shire

LLC, Supernus Pharmaceuticals, Inc., AMY F.T. Arnsten, Ph.D., Pasko Rakic, M.D., Robert D.



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Hunt, M.D. and Actavis, Inc., Watson Laboratories, Inc.-Florida, Watson Pharma, Inc., ANDA,

Inc., Actavis Elizabeth LLC, Actavis LLC dated March 4, 2013, which was produced by Actavis

and which is Bates numbered Actavis-Int-0080445 through Actavis-Int-0080491.

       53.    Attached as Exhibit 164 is a draft Settlement Agreement by and Among Shire

LLC, Supernus Pharmaceuticals, Inc., AMY F.T. Arnsten, Ph.D., Pasko Rakic, M.D., Robert D.

Hunt, M.D. and Actavis, Inc., Watson Laboratories, Inc.-Florida, Watson Pharma, Inc., ANDA,

Inc., Actavis Elizabeth LLC, Actavis LLC dated March 7, 2013, which was produced by Actavis

and which is Bates numbered Actavis-Int-0080554 through Actavis-Int-0080606.

       54.    Attached as Exhibit 165 is an email from Andrea Sweet to cal@avhlaw.com et

al dated March 22, 2012, which was produced by Actavis which is Bates numbered Actavis-Int-

0081077 through Actavis-Int-0081079.

       55.    Attached as Exhibit 166 is Decisions and Action Summary dated March 12,

2012, which was produced by Actavis and which is Bates numbered Actavis-Int-0082449.

       56.    Attached as Exhibit 167 is an email from Jennifer Wu to Andrea Bowne et al

dated October 12, 2011, which was produced by Actavis which is Bates numbered Actavis-Int-

0087878.

       57.    Attached as Exhibit 168 is a draft Settlement Agreement by and Among Shire

LLC, Supernus Pharmaceuticals, Inc., AMY F.T. Arnsten, Ph.D., Pasko Rakic, M.D., Robert D.

Hunt, M.D. and Actavis, Inc., Watson Laboratories, Inc.-Florida, Watson Pharma, Inc., ANDA,

Inc., Actavis Elizabeth LLC, Actavis LLC dated February 4, 2013, which was produced by

Actavis and which is Bates numbered Actavis-Int-0088280 through Actavis-Int-0088328.

       58.    Attached as Exhibit 169 is an email from David Banchik to Amy Hulina dated

April 15, 2013, which was produced by Actavis which is Bates numbered Actavis-Int-0089794.

       59.    Attached as Exhibit 170 is an email from Matthew Becker dated July 24, 2012,



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which was produced by Actavis and which is Bates numbered Actabis-Int-0091848.

       60.    Attached as Exhibit 171 is U.S. Patent Number 5,854,290 dated December 29,

1988, which was produced by Actavis and which is Bates numbered Actavis-Int-0092397

through Actavis-Int-0092409.

       61.    Attached as Exhibit 172 is an email chain from Jennifer Wu dated August 21,

2012, which was produced by Actavis and which is Bates numbered Actavis-Int-0101980

through Actavis-Int-010983.

       62.    Attached as Exhibit 173 is an email chain from Jennifer Wu dated December 14,

2012, which was produced by Actavis and which is Bates numbered Actavis-Int-0102213

through Actavis-Int-0102214.

       63.    Attached as Exhibit 174 is an excerpt of Decision and Action Summary dated

April 16, 2012 (incorrectly dated April 2, 2012), which was produced by Actavis and which is

Bates numbered Actavis-Int-0103564.

       64.    Attached as Exhibit 175 is an email chain from Dhaval Patel dated August 22,

2013, which was produced by Actavis which is Bates numbered Actavis-Int-0110007 through

Actavis-Int-0110008.

       65.    Attached as Exhibit 176 is an email from Meghan Strouss dated October 3,

2013, which was produced by Actavis which is Bates numbered Actavis-Int-0110311.

       66.    Attached as Exhibit 177 is an email chain from Dick Vukmanovich dated July

21, 2014, which was produced by Actavis which is Bates numbered Actavis-Int-0111039

through Actavis-Int-0111040.

       67.    Attached as Exhibit 178 is Actavis's generic Intuniv forecast dated May 31,

2013, which was produced by Actavis which is Bates numbered Actavis-Int-0114022.

       68.    Attached as Exhibit 179 is Actavis's generic Intuniv forecast dated January 30,



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2013, which was produced by Actavis which is Bates numbered Actavis-Int-0121778.

       69.    Attached as Exhibit 180 is Actavis's generic Intuniv forecast dated July 30,

2014, which was produced by Actavis which is Bates numbered Acatavis-Int-0121786.

       70.    Attached as Exhibit 181 is Actavis's generic Intuniv forecast dated November

20, 2014, which was produced by Actavis which is Bates numbered Actavis-Int-0121787.

       71.    Attached as Exhibit 182 is an excerpt of Actavis's generic Intuniv forecast dated

December 10, 2012, which was produced by Actavis which is Bates numbered Actavis-Int-

0121839.

       72.    Attached as Exhibit 183 is Actavis's generic Intuniv forecast dated May 22,

2013, which was produced by Actavis which is Bates numbered Actavis-Int-0121840.

       73.    Attached as Exhibit 184 is an email from Richard Vukmanovich dated

September 18, 2014, attaching New Product Launch Meeting Minutes dated September 11,

2014, which was produced by Actavis which is Bates numbered Actavis-Int-0138783.

       74.    Attached as Exhibit 185 is an email from Roy Papatheodorou to David Buchen

dated July 25, 2012 dated July 25, 2012, which was produced by Actavis which is Bates

numbered Actavis-Int-0147051.

       75.    Attached as Exhibit 186 is U.S. Patent Number 6,287,599 dated September 11,

2001, which was produced by Actavis which is Bates numbered Actavis-Int-0161424 through

Actavis-Int-0161431.

       76.    Attached as Exhibit 187 is a letter from Marcie McClintic Coates, Mylan

Pharmaceuticals to Keith Webber, Ph.D., Office of Generic Drugs, CDER, FDA dated

November 30, 2010, which was produced by Mylan which is Bates numbered

MYLGUAN_0000293 through MYLGUAN_0000294.

       77.    Attached as Exhibit 188 is a letter from Vince Suneja, Mylan Pharmaceuticals



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to Keith Webber, Ph.D., Office of Generic Drugs, CDER, FDA, dated October 31, 2011, which

was produced by Mylan which is Bates numbered MYLGUAN_0005764 through

MYLGUAN_0005766.

       78.    Attached as Exhibit 189 is an email from Doug Boothe to Theresa Wozniak et

al dated December 28, 2009, which was produced by Shire which is Bates numbered

SHIREINT0014230 through SHIREINT0014231.

       79.    Attached as Exhibit 190 is a letter from Nicholas Tantillo to Jack Khattar dated

March 12, 2010, which was produced by Shire which is Bates numbered SHIREINT0023957

through SHIREINT0023974.

       80.    Attached as Exhibit 191 is the transcript of the February 3, 2012 deposition of

Amy Arnsten in Shire LLC v. Teva Pharmaceuticals USA, Inc., which was produced by Shire

which is Bates numbered SHIREINT0086292 through SHIREINT0086417.

       81.    Attached as Exhibit 192 is U.S. Patent Number 6,811,794 dated November 2,

2004, which was produced by Shire which is Bates numbered SHIREINT0107431 through

SHIREINT0107441.

       82.    Attached as Exhibit 193 is an untitled PowerPoint presentation created on May

22, 2012, which was produced by Shire which is Bates numbered SHIREINT0142648 through

SHIREINT0142667.

       83.    Attached as Exhibit 194 is a document from Citi Research, "Intunive Overhang

Examined; Near-term Settlement Likely," dated July 3, 2012, which was produced by Shire

which is Bates numbered SHIREINT0148456 through SHIREINT0148473.

       84.    Attached as Exhibit 195 is a document entitled, "First Intuniv settlement

reduces uncertainty," which was produced by Shire which is Bates numbered

SHIREINT0148995 through SHIREINT0149005.



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       85.    Attached as Exhibit 196 is a document from Bank of America/Merrill Lynch,

"Shire: Cautious mid-term outlook. Near-term balanced," which was produced by Shire which

is Bates numbered SHIREINT0149006 through SHIREINT0149035.

       86.    Attached as Exhibit 197 is Strategy and Long-Range Business Review dated

October 23, 2012, which was produced by Shire which is Bates numbered SHIREINT015877

through SHIREINT0151942.

       87.    Attached as Exhibit 198 is an email from Tatjana May to Angus Russell dated

November 29, 2012 which was produced by Shire which is Bates numbered

SHIREINT0154698 through SHIREINT0154700.

       88.    Attached as Exhibit 199 is an email from Chantal Petit to David Baker et al

dated June 14, 2010 with attachment, Shire Strategic Product Plan, which was produced by

Shire which is Bates numbered SHIREINT0161548 through SHIREINT01615999.

       89.    Attached as Exhibit 200 is an Answer and Counterclaims dated June 4, 2010 in

Shire LLC v. Actavis Elizabeth et al, No. 10-cv-397 (D. Del.), ECF No. 9, which was produced by

Shire which is Bates numbered SHIREINT0161739 through SHIREINT0161754.

       90.    Attached as Exhibit 201 is a Shire document, J.P. Morgan Healthcare

Conference, dated January 12, 2010, which was produced by Shire which is Bates numbered

SHIRE0171468 through SHIREINT0171486.

       91.    Attached as Exhibit 202 is an email from Ed Haug to James Harrington dated

October 2, 2012 which was produced by Shire which is Bates numbered SHIREINT0183596

through SHIREINT0183599.

       92.    Attached as Exhibit 203 is an email from Tatjana May et al to Gary Sender, et

al dated April 5, 2013, which was produced by Shire which is Bates numbered

SHIREINT0187544 through SHIREINT0187546.



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       93.    Attached as Exhibit 204 is Actavis's proposed revisions to Shire's proposed

inserts provided to Tatjana May on March 27, 2013, which was produced by Shire which is

Bates numbered SHIREINT0192748 through SHIREINT0192749.

       94.    Attached as Exhibit 205 is an email from Tatjana May to David Buchen dated

April 24, 2013 which was produced by Shire which is Bates numbered SHIREINT0198454

through SHIREINT0198455.

       95.    Attached as Exhibit 206 is an email from Tatjana May to David Buchen dated

March 26, 2013, which was produced by Shire which is Bates numbered SHIREINT0198821

through SHIREINT0198822.

       96.    Attached as Exhibit 207 is a letter from Philip Erickson, Teva to Shire dated

April 25, 2012, which was produced by Shire which is Bates numbered SHIREINT0201949

through SHIREINT0201953.

       97.    Attached as Exhibit 208 is an email from David Herman to Don Mizerk dated

August 23, 2012, which was produced by Shire which is Bates numbered SHIREINT0204328

through SHIREINT0204330.

       98.    Attached as Exhibit 209 is a document, “Intuniv Team Strattera Action Plan,”

dated August 13, 2010, which was produced by Shire which is Bates numbered

SHIREINT0208714 through SHIREINT0208724.

       99.    Attached as Exhibit 210 is an excerpt of a forecast dated October 11, 2012,

which was produced by Shire which is Bates numbered SHIREINT0211679.

       100.   Attached as Exhibit 211 is an excerpt of an Actavis spreadsheet entitled

"Guanfacine ER (GX Intuniv) - Shire Profit Sharing," for January through December 2014,

which was produced by Shire which is Bates numbered SHIREINT0218203.

       101.   Attached as Exhibit 212 is an email from Gary Sender to John Miller dated



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April 25, 2013, which was produced by Shire which is Bates numbered SHIREINT0220480.

       102.   Attached as Exhibit 213 is an email from John Miller to Sherri Cirota dated

October 11, 2012, which was produced by Shire which is Bates numbered SHIREINT0221678

       103.   Attached as Exhibit 214 is an excerpt from spreadsheet, Actavis's generic

Intuniv forecast dated July 10, 2014, which was produced by Actavis which is Bates numbered

Actavis-Int-0121785.

       104.   Attached as Exhibit 215 is an email from John Neeley to Craig Lewis dated

May 27, 2011, which was produced by Shire which is Bates numbered SHIREINT0225719

through SHIREINT0225721.

       105.   Attached as Exhibit 216 is an email from Alicia Harrar to Leonard Fasullo

dated September 13, 2012, which was produced by Shire which is Bates numbered

SHIREINT0226364 through SHIREINT0226366.

       106.   Attached as Exhibit 217 is an email from Alicia Harrar to Leonard Fasullo

dated April 25, 2013, which was produced by Shire which is Bates numbered

SHIREINT0226388 through SHIREINT0226389.

       107.   Attached as Exhibit 218 is an email from Alicia Harrar to Nona Copeland dated

June 17, 2013, which was produced by Shire which is Bates numbered SHIREINT0226618.

       108.   Attached as Exhibit 219 is a document entitled "Global Supply Review," dated

April 22, 2013, which was produced by Shire which is Bates numbered SHIREINT0226834

       109.   Attached as Exhibit 220 is an email from John Miller to Gary Sender dated

April 25, 2013, which was produced by Shire which is Bates numbered SHIREINT0253556.

       110.   Attached as Exhibit 221 is an excerpt from a spreadsheet, forecast dated April

25, 2013, which was produced by Shire which is Bates numbered SHIREINT0253557.

       111.   Attached as Exhibit 222 is an excerpt of a presentation, “Intuniv AG Scenarios,”



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dated July 8, 2014, which was produced by Shire which is Bates numbered SHIEINT0255589.

       112.   Attached as Exhibit 223 is an email from Tatjana May to David Banchik dated

March 7, 2013, which was produced by Shire which is Bates numbered SHIREINT0255719

through SHIREINT0255721.

       113.   Attached as Exhibit 224 is an email from Richard Lucas to Graham

Hetherington dated July 3, 2012, which was produced by Shire which is Bates numbered

SHIREINT0256134.

       114.   Attached as Exhibit 225 is an excerpt from a spreadsheet, Shire Analysis of

Intuniv Compound Annual Growth Rate (CAGR) dated July 2, 2012, which was produced by

Shire which is Bates numbered SHIREINT0256135.

       115.   Attached as Exhibit 226 is an email from Liliana Szymanska to John Miller

dated April 26, 2013 with attached Intuniv Generic Analysis, which was produced by Shire

which is Bates numbered SHIREINT0259782 through SHIREINT0259783.

       116.   Attached as Exhibit 227 is Intuniv CMC meeting minutes dated February 20,

2014, which was produced by Shire which is Bates numbered SHIREINT0260256 through

SHIREINT0260258.

       117.   Attached as Exhibit 228 is an excerpt from Actavis's generic Intunive forecast

dated February 26, 2014, which was produced by Actavis which is Bates numbered Actavis-Int-

0110565.

       118.   Attached as Exhibit 229 is an excerpt from Actavis spreadsheet entitled

"Guanfacine ER (GX Intuniv) - Shire Profit Sharing," for January through December 2015,

which was produced by Shire which is Bates numbered SHIREINT0262300.

       119.   Attached as Exhibit 230 is an email from Scott Fruechtemeyer to Jason

Baranski dated June 9, 2017, which was produced by Shire which is Bates numbered



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SHIREINT0274305.

       120.   Attached as Exhibit 231 is an email from Scott Fruechtemeyer to Jason

Baranski dated June 15, 2017, which was produced by Shire which is Bates numbered

SHIREINT0274311.

       121.   Attached as Exhibit 232 is a document, Wholesaler Model Agreement Outline,

dated June 15, 2017, which was produced by Shire which is Bates numbered

SHIREINT0274312 through SHIREINT0274313.

       122.   Attached as Exhibit 233 is an email from Scott Fruechtemeyer to Jason

Baranski dated June 7, 2017, which was produced by Shire which is Bates numbered

SHIREINT0274333 through SHIREINT0274334.

       123.   Attached as Exhibit 234 is an email from Jason Baranski to Scott

Fruechtemeyer dated June 8, 2017, which was produced by Shire which is Bates numbered

SHIREINT0274470.

       124.   Attached as Exhibit 235 is the signature page to Distribution and Supply

Agreement (undated), which was produced by Shire which is Bates numbered

SHIREINT0274755.

       125.   Attached as Exhibit 236 is the signature page to Distribution and Supply

Agreement (undated), which was produced by Shire which is Bates numbered

SHIREINT0274814 through SHIREINT0274815.

       126.   Attached as Exhibit 237 is an email from Scott Fruechtemeyer to Michael

Riffitts dated March 7, 2017, which was produced by Shire which is Bates numbered

SHIREINT0274903 through SHIREINT0274904.

       127.   Attached as Exhibit 238 is a Distribution and Supply Agreement by and

Between Shire LLC and Prasco, LLC dated November 18, 2016, which was produced by Shire



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which is Bates numbered SHIREINT0275238 through SHIREINT0275293.

       128.   Attached as Exhibit 239 is an Abbreviated New Drug Application 1.3.5 Patent

and Exclusivity dated January 22, 2010, which was produced by Teva which is Bates numbered

Teva-Int-0003216 through Teva-Int-0003218.

       129.   Attached as Exhibit 240 is Teva Patent Certification dated April 24, 2012,

which was produced by Teva which is Bates numbered Teva-Int-0010093.

       130.   Attached as Exhibit 241 is Teva's tentative approval letter regarding patent

certification dated April 23, 2013, which was produced by Teva which is Bates numbered Teva-

Int-0011231 through Teva-Int-0011235.

       131.   Attached as Exhibit 242 is an email from Souheil Salah to Adam Brown et al

dated July 5, 2012, which was produced by Shire which is Bates numbered SHIREINT0149357

through SHIREINT0149358.

       132.   Attached as Exhibit 243 is an excerpt from a spreadsheet, forecast dated

November 5, 2014, which was produced by Shire which is Bates numbered

SHIREINT0255425.

       133.   Attached as Exhibit 244 is an email from Gary Sender to Graham Hetherington

dated December 23, 2013, which was produced by Shire which is Bates numbered

SHIREINT0166342 through SHIREINT0166343, and attaching GS 2013 Performance

Management Form with Accomplishment, which was produced by Shire which is Bates

numbered SHIREINT0166343, SHIREINT0166344, SHIREINT0166344_0002 through

SSHIRE0166344_0007.

       134.   Attached as Exhibit 245 is a document, Proposed Structure of Intuniv AG,

dated February 27, 2013, which was produced by Shire which is Bates numbered

SHIREINT0175500 through SHIREINT0175501 through SHIREINT0175501.



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       135.   Attached as Exhibit 246 is an email from Gary Sender to Flemming Ornskov

dated April 27, 2013, which was produced by Shire which is Bates numbered

SHIREINT0166325

       136.   Attached as Exhibit 247 is an email from Sherri Cirota to John Miller dated

October 22, 2012, which was produced by Shire which is Bates numbered SHIREINT0219179.

       137.   Attached as Exhibit 248 is a redline comparison of the 2016 and 2017 Lialda

agreements.

       138.   Attached as Exhibit 249 is an excerpt from a spreadsheet, Actavis's generic

Intuniv forecast dated June 24, 2014, which was produced by Actavis which is Bates numbered

Actavis-Int-0110938.

       139.   Attached as Exhibit 250 is an excerpt from a Shire forecast dated June 20, 2014,

which was produced by Shire which is Bates numbered SHIREINT0213351.

       140.   Attached as Exhibit 251 is an excerpt from a Shire forecast dated July 22, 2014,

which was produced by Shire which is Bates numbered SHIREINT0214854.

       141.   Attached as Exhibit 252 is an excerpt from a spreadsheet, Shire forecast dated

April 7, 2014, which was produced by Shire which is Bates numbered SHIREINT02144949.

       142.   Attached as Exhibit 253 is a document, SHIRE ADHD PORTFOLIO

LEARNING PROGRAM, December 2010, which was produced by Shire which is Bates

numbered SHIREINT0184451 through SHIREINT0184549.

       143.   Attached as Exhibit 254 is an email from Gary Sender from Eric Rojas dated

January 11, 2010, which was produced by Shire which is Bates numbered SHIREINT0172209

through SHIREINT0172210

       144.   Attached as Exhibit 255 is the transcript of the October 9, 2018 deposition of

Leonard Fasullo.



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       145.   Attached as Exhibit 256 is an email from Bose Analytics to Anderson Graziano

et al, dated July 8, 2014, which was produced by Shire which is Bates numbered

SHIREINT0215880.

       146.   Attached as Exhibit 257 is a United States Securities and Exchange

Commission Form 10-Q for Shire PLC for the quarterly period ending March 31, 2012, which

was produced by Shire which is Bates numbered SHIREINT0272751 through

SHIREINT0272805.

       147.   Attached as Exhibit 258 is a United States Securities and Exchange

Commission Form 10-K for Shire PLC for the fiscal year ending December 31, 2007, which was

produced by Actavis which is Bates numbered Actavis-Int-0051239 through Actavis-Int-

0051423.

       148.   Attached as Exhibit 259 is a United States Securities and Exchange

Commission Form 10-K for Shire PLC for the fiscal year ending December 31, 2008, which was

produced by Actavis which is Bates numbered Actavis-Int-0051424 through Actavis-Int-

0051634.

       149.   Attached as Exhibit 260 is ECF No. 72-2 filed in No. 16-cv-12653.

       150.   Attached as Exhibit 261 is the Shire PLC Half Yearly Report 2010, which was

produced by Actavis which is Bates numbered Actavis-Int-0020699 through Actavis-Int-

0020748.

       151.   Attached as Exhibit 262 is Shire sales data identifying Massachusetts Medicaid

program as Intuniv customer, which was produced by Shire which is Bates numbered

SHIREINT0275834.

       152.   Attached as Exhibit 263 is Actavis sales data, which was produced by Actavis

which is Bates numbered Actavis-Int-0078019.



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       153.   Attached as Exhibit 264 is a publication, Phillip B. Chappell et al., “Guanfacine

Treatment of Comorbid Attention-Deficit Hyperactivity Disorder and Tourette’s Syndrome:

Preliminary Clinical Experience,” 34(9) J. AM. ACAD. CHILD ADOLESC. PSYCHIATRY

1140 (1995), which was produced by Actavis which is Bates numbered Actavis-Int-0080619

through Actavis-Int-0080627.

       154.   Attached as Exhibit 265 is European Patent Application 0266707, Sustained

Release Labetalol Tablet, published May 11, 1988, which was produced by Actavis which is

Bates numbered Actavis-Int-0080646.

       155.   Attached as Exhibit 266 is a publication, Robert D. Hunt et al., “An Open Trial

of Guanfacine in the Treatment of Attention-Deficit Hyperactivity Disorder,” 34(1) J. AM.

ACAD. CHILD ADOLESC. PSYCHIATRY 50 (1995), which was produced by Actavis which

is Bates numbered Actavis-Int-0080960 through Actavis-Int-0080964.

       156.   Attached as Exhibit 267 is a publication, K.E. Gabr, “Effect of Organic Acids on

the Release Patterns of Weakly Basic Drugs from Inert Sustained Release Matrix Tablets,”

38(6) Eur. J. Pharm. Biopharm. 199 (1993), which was produced by Actavis which is Bates

numbered Actavis-Int-0082200 through Actavis-Int-0082205.

       157.   Attached as Exhibit 268 is a publication, Edward Rudnic and Joseph B.

Schwartz, “Oral Solid Dosage Forms,” in REMINGTON: THE SCIENCE AND PRACTICE

OF PHARMACY 1615 (1995), which was produced by Shire which is Bates numbered

SHIREINT0002678 through SHIREINT0002730.

       158.   Attached as Exhibit 269 is patent trial exhibit DTX 237, J.R. Kiechel,

“Pharmacokinetics and Metabolism of Guanfacine in Man: A Review,” 10 BR. J. CLIN.

PHARMA. 25S, 25S-32S (1980), which was produced by Shire which is Bates numbered

SHIREINT0002731 through SHIREINT0002738.



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       159.   Attached as Exhibit 270 is the Expert Report of Mansoor M. Amiji on behalf of

Teva, dated March 28, 2012, which was produced by Shire which is Bates numbered

SHIREINT0102165 through SHIREINT0102180.

       160.   Attached as Exhibit 271 is the Expert Report of Michael J. Cima on behalf of

Actavis dated March 28, 2012, which was produced by Shire which is Bates numbered

SHIREINT0103423 through SHIREINT0103495.

       161.   Attached as Exhibit 272 is the Expert Report of Martyn C. Davies on behalf of

Shire dated March 28, 2012, which was produced by Shire which is Bates numbered

SHIREINT0112352 through SHIREINT0112389.

       162.   Attached as Exhibit 273 is the Expert Report of Stephen R. Byrn on behalf of

Shire dated March 28, 2012, which was produced by Shire which is Bates numbered

SHIREINT0113356 through SHIREINT0113402.

       163.   Attached as Exhibit 274 is the Reply Expert Report of Mansoor M. Amiji on

behalf of Teva dated April 18, 2012, which was produced by Shire which is Bates numbered

SHIREINT0114297 through SHIREINT0114337.

       164.   Attached as Exhibit 275 is the Expert Report of Anthony Lowman on behalf of

Actavis dated April 18, 2012, which was produced by Shire which is Bates numbered

SHIREINT0120411 through SHIREINT0120475.

       165.   Attached as Exhibit 276 is a publication, K. Goracinova, et al., “pH Independent

Controlled Release Matrix Tablets with Weakly Basic Drugs as Active Substances. Effect of

Incorporated Acids,” 14(1) Bull. Chem. Tech. Macedonia 23 (1995), which was produced by

Shire which is Bates numbered SHIREINT0126753 through SHIREINT0126760.

       166.   Attached as Exhibit 277 is International Patent Application WO 99/66904

“Incorporation of Latent Acid Solubilizing Agents in Coated Pellet Formulations to Obtain pH



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Independent Release,” published December 29, 1999, which was produced by Shire which is

Bates numbered SHIREINT0126761 through SHIREINT0126784.

       167.   Attached as Exhibit 278 is the Rebuttal Expert Report of Michael J. Cima on

behalf of Actavis dated May 2, 2012, which was produced by Shire which is Bates numbered

SHIREINT0129867 through SHIREINT0129917.

       168.   Attached as Exhibit 279 is Exhibit 4 to Pretrial Order, Defendants Actavis

Elizabeth LLC’s and Actavis, Inc.’s Statement of Issues of Fact that Remain to be Litigated, in

Shire LLC v. Teva Pharmaceuticals USA, Inc., which was produced by Shire which is Bates

numbered SHIREINT0206894 through SHIREINT0206949.

       169.   Attached as Exhibit 280 is Exhibit 11 to Pretrial Order, Defendants’ Joint

Exhibit List and Plaintiffs’ Objections in Shire LLC v. Teva Pharmaceuticals USA, Inc, which was

produced by Actavis which is Bates numbered Actavis-Int-0027580 through Actavis-Int-

0027607.

       170.   Attached as Exhibit 281 is U.S. Patent No. 4,792,452 dated December 20, 1988,

which was produced by Shire which is Bates numbered SHIREINT0126785 through

SHIREINT0126789.

       171.   Attached as Exhibit 282 is In re Lidoderm Antitrust Litig., No. 3:14-md-02521-

WHO (N.D. Cal.), ECF No. 746 dated June 6, 2017.

       172.   Attached as Exhibit 283 are excerpts from Shire privilege log.

       173.   Attached as Exhibit 284 is patent trial exhibit DTX 181, a publication, Phillip

B. Chappell et al., “Guanfacine Treatment of Comorbid Attention-Deficit Hyperactivity

Disorder and Tourette’s Syndrome: Preliminary Clinical Experience,” 34(9) J. AM. ACAD.

CHILD ADOLESC. PSYCHIATRY 1140 (1995), which was produced by Actavis which is

Bates numbered Actavis-Int-0027778 through Actavis-Int-0027786.



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       174.   Attached as Exhibit 285 is patent trial exhibit DTX 226, European Patent

Application 0266707, Sustained Release Labetalol Tablet, published May 11, 1988, which was

produced by Shire which is Bates numbered SHIREINT0002627 through SHIREINT0002639.

       175.   Attached as Exhibit 286 is patent trial exhibit DTX 182, a publication, Robert

D. Hunt et al., “An Open Trial of Guanfacine in the Treatment of Attention-Deficit

Hyperactivity Disorder,” 34(1) J. AM. ACAD. CHILD ADOLESC. PSYCHIATRY 50 (1995),

which was produced by Shire which is Bates numbered SHIREINT000194 through

SHIREINT0001998.

       176.   Attached as Exhibit 287 is patent trial exhibit DTX 227, a publication, K.E.

Gabr, “Effect of Organic Acids on the Release Patterns of Weakly Basic Drugs from Inert

Sustained Release Matrix Tablets,” 38(6) Eur. J. Pharm. Biopharm. 199 (1993), which was

produced by Actavis which is Bates numbered Actavis-Int-0046129 through Actavis-Int-

0046134.

       177.   Attached as Exhibit 288 is patent trial exhibit DTX 234, a publication, Edward

Rudnic and Joseph B. Schwartz, “Oral Solid Dosage Forms,” in REMINGTON: THE

SCIENCE AND PRACTICE OF PHARMACY 1615 (1995), which was produced by Shire

which is Bates numbered SHIREINT0002678 through SHIREINT0002730.

       178.   Attached as Exhibit 289 is patent trial exhibit DTX 237, a publication, J.R.

Kiechel, “Pharmacokinetics and Metabolism of Guanfacine in Man: A Review,” 10 BR. J. CLIN.

PHARMA. 25S, 25S-32S (1980) which was produced by Shire which is Bates numbered

SHIREINT0002731 through SHIREINT0002738.

       179.   Attached as Exhibit 290 is patent trial exhibit DTX 228, a publication, K.

Goracinova, et al., “pH Independent Controlled Release Matrix Tablets with Weakly Basic

Drugs as Active Substances. Effect of Incorporated Acids,” 14(1) Bull. Chem. Tech. Macedonia



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23 (1995), which was produced by Shire which is Bates numbered SHIREINT0002646 through

Shireint0002653.

       180.   Attached as Exhibit 291 is patent trial exhibit DTX 229, International Patent

Application WO 99/66904, “Incorporation of Latent Acid Solubilizing Agents in Coated Pellet

Formulations to Obtain pH Independent Release,” published December 29, 1999, which was

produced by Shire which is Bates numbered SHIREINT0002654 through SHIREINT0002677.

       181.   Attached as Exhibit 292 is patent trial exhibit DTX 183, U.S. Patent Number

5,854,290 dated December 29, 1988, which was produced by Shire which is Bates numbered

SHIREINT0001999 through SHIREINT0002011.

       182.   Attached as Exhibit 293 is patent trial exhibit PTX1, U.S. Patent Number

6,287,599 dated September 11, 2001, which was produced by Shire which is Bates numbered

SHIREINT0003041 through SHIREINT0003048.

       183.   Attached as Exhibit 294 is patent trial exhibit PTX 2, U.S. Patent Number

6,811,794 dated November 2, 2004, which was produced by Shire which is Bates numbered

SHIREINT0003049 through SHIREINT0003060.



Executed this 29th day of October, 2019, under the pains and penalties of perjury.



                                            /s/ Lauren G. Barnes
                                            Lauren G. Barnes




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                                  CERTIFICATE OF SERVICE

       I, Lauren G. Barnes, certify that, on this date, the foregoing document was served by

filing it on the Court’s CM/ECF system, which will automatically send a notification of such

filing to all counsel of record via electronic mail.


Dated: October 29, 2019                                    /s/ Lauren G. Barnes
                                                          Lauren G. Barnes




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